Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 1 of 29

EXHIBIT 8
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 2 of 29

ORIGINAL -

UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF PENNSYLVANIA

Plaintiffs,

-against- Case No.
98-CV-5591

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the
United States,

Defendant. —
“= DAILY COPY --

153 East 53rd Street
New York, New York

February 23, 2006
9:29 a.m.

DEPOSITION of HEATHER C. REARICK,

taken by the Defendant, pursuant to Notice.

ARISTA COURT REPORTING CO.
192 Lexington Avenue
Suite 802
New York, New York 10016
(212) 684-6100

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 3 of 29

28
H. Rearick

region of the filter and who is using it,
basically.

Q Who determines what content is
put on your websites?

A I do.

Q. Is that solely your determination?

A Mostly. Again, the message
boards that run at Scarleteen, I determine
what stays there, you know. So if something

is inappropriate, I edit it.

So ultimately that is me
determining it, but I am not creating.

That content or leading that
content specifically. So aside of dynamic
content like message boards, that is all my
decision.

Q Do your websites advertise on any
other websites?

A As in do I purchase advertising?

Q Well, let's start with purchase
advertising.

A No.

Q- Do you have your link to any

other websites other than --

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 4 of 29

46

H. Rearick

Q Back when you were a child?
A Yes.
Q Moving on to the Scarleteen

website, do you consider Scarleteen to be a
sex education website?

A Yes.

Q What is your philosophy behind
the Scarleteen website?

A Oh, boy. I will just rattle a
little and you can cut me off at the pass or
whatever. Everyone does.

When we started Scarleteen, it
was largely because it was very clear that
Scarlet Letters, which definitely has sex
education but it also has sexual
entertainment, so we don't really think of
that as a sex ed site as much as a general
sexuality Site.

I was getting e-mails from
teenagers who were finding that because it
was one of the -- still beyond just being
for women, one of the few sites on the net
at the time which had text, which had sexual

information and not just entertainment,

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 5 of 29

47]

H. Rearick

asking me questions about birth control,
about condom use, about where different
parts of their body were, so it was clear to
us that there wasn't anything else for them.

So -- and a lot of the-time, too,
at the time you would see porn sites -- I
don't know if they were trying to be
condescending, but it was -~- who every now
and then would have a little outlink like we
do on Scarlet Letter saying if you are under
18 and you are looking, whatever, go here.
And it would usually be to Disney, which you
know if you are a 16-year-old looking for
birth control information, it is pretty
patronizing and shitty.

So, we went ahead and said okay.
And I made like five pages thinking oh, that
will cover it; didn't have sex ed in the
late '80s or early '90s, but at a very
different time. So we made that basically
thinking we are going to have an alternative
to this, there is somewhere that they can go
where the information is more age-appropriate,

where they don't have to try and

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 6 of 29

H. Rearick

differentiate between what is information

and what is fictional and entertainment

Q Is it fair to say one of the

reasons that you started Scarleteen was to

have a site specifically for teenagers?

A Absolutely.

Q I would like to show you a
document. TF you can mark this as
Exhibit 1.

(Thereupon, the document was

marked Defendant's Exhibit 1 for

Identification, as of this date.)

Q Feel free to take a look at this

document.

A IT am familiar with it.

Q It is a few pages long. Do you
recognize this document?

A I do.

Q Is this from the Scarleteen

website?

A Right. This is our

page, simple primer on who we are and what

we do.

Q Does it accurately state who you

ARISTA COURT REPORTING CO.

(212)

"about us"

684-6100

48
24

°25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 7 of 29

71

H. Rearick

A We actually try and get some kind
of first person pieces to balance out the
more clinical stuff that we have because it
personalizes things. They generally tend to
relate on an emotional level to something
like this much better than they would, you
know, me making a bulleted list of all of
the issues that they will deal with coming
out. It gives them somebody to kind of feel
like they are being mentored by.

Q Do you think that Exhibit 4 has

educational value for people under the age

of 17?
MR. WIZNER: Objection, vague
and ambiguous. You can answer.
A I do.
Q Do you fear prosecution under

COPA for this article?

A I sure do.
Q Loam sorry?
A I do, very much.

Q Why is that?
A I actually had three or four of

my volunteers who are 17 feel that this

ARISTA COURT REPORTING Co. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 8 of 29

81

H. Rearick

Q Do you fear prosecution under
COPA for Exhibit 5?

A For only this page or for all of
what it links to?

QO Let's start with only this page.

A No, I do not.

Q What about all that it links to?

A Not most of what it links to,
but, for instance, there is a section where
it links to how to put on a condom. It gets
pretty explicit.

The assumption with any of these
files on the STIs is that the teenagers
reading them will probably be sexually
active and in none of those am I telling
chem not to be sexually active. So, maybe.

Q So would you fear prosecution
under COPA for instructions of how to put on
a condom?

A Yes, I would. Just to clarify
that too, if I was giving those instructions
to only people under 18, I would not. The
fact of the matter is what makes me fear

that is that I am giving those instructions

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 9 of 29

84

H. Rearick
teenagers?

A Absolutely.

Q Why do you think that is a
helpful resource for teenagers?

A Why do I do I think? Well, you
know, the answer to almost any question like
that is going to be anything that we write
and include on this, because the most active
part of the site is constant question and
answer, is usually based on explicitly what
they have asked us for. You know, we get X
number of questions about labioplasty; okay,
fine, I am going to write an article about
that because 50 gazillion girls have asked
me about this.

You know, we, I don't decide what
they need to know. They tell me what they
need to know, and I find out.

Q Moving on to the sexuality.
section, I think we discussed this briefly
before. Can you just give me a summary of
what the sexuality section pertains to?

A Sure. Again, that's mostly

sexual mechanics. That is things like

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 10 of 29

86

H. Rearick

A Again it's, they are asking for
this and telling me it is helpful.

I talk to, through boards I talk
to at least 60 of them a day, so they are
pretty -- they are teenagers, they are
gregarious and demonstrative and they tell
you and they also tell you when things
really suck.

Q Do you change the content based
on the feedback that you get from teenagers?

A Often we have.

Q In the sexuality section, do I
understand correctly that that is driven,
the content of that is driven by the
teenagers themselves similar to the Skin
Deep section that we discussed?

A Yes, you can say that really
pretty much for the whole site.

Q The reproduction section, could
you briefly explain what that covers?

A Sure. It covers explaining
reproduction and how it happens, and it
mostly talks about birth control. There is

some information on abortion in there.

ARISTA COURT REPORTING CO. (212) 684-6100
(24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 11 of 29

88

H. Rearick

A Yes I do.

QO Why do you believe that?

A Because every five minutes of my
waking day I get asked if someone is
pregnant. Welcome to my life.

Q In the hierarchy of website hits
that you get on Scarleteen, where does
reproduction fall?

A It is kind of in the middle. 1
mean really, to sum that up for you already,
the Skin Deep, the sexuality section, Gaydar
and like the Pink Slip and boyfriend, those
are kind of the gender specific sections,
those are the highest. But Skin Deep and
sexuality are higher, higher, higher.
Everything else kind of falls under need
them.

°Q Why do you think Skin Deep and
sexuality are so high? Do you think that is
just what teenagers have the most questions
about?

A It is two things actually. That
is part of why, the other part of why is

that the issues in those are ones most

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 12 of 29

89
H. Rearick
addressed by the general Internet.
So, for instance, if you go to
the wickipedia section of the vulva, there
is direct Ttinks to every piece of
information that we have at Scarleteen on
there. So, it is both because, you know, it

is of compelling interest to the users and
also because those are the best linked
sections from other larger sites.

Q So, does wickipedia link to
Scarleteen?

A Right, but they won't even be
linking to Scarleteen so much as a specific
article in there. So someone would be at
the wickipedia definition for vulva and go
right to the female anatomy article without

going through our front page. They will see

‘these navigational menus, but without

immediately knowing that there are other
articles on this site, what are they, where
are they.

Q I believe you talked about the

infection section previously, so I will skip

over that for now.

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 13 of 29

110

H. Rearick
e-mailed at the e-mail they gave us, their
user name and their password.
Q The location that they give, is
that a city and state or is that --
A It is open, so it is really

whatever they put down.

Q Is that an optional item?
A Yes, it is.
Q Do I presume correctly that

agreeing to the guidelines is not an
optional --

A No, it is not.

Q What are the guidelines for the
message boards for Scarleteen?

A The guidelines are really long,
which means that mostly they don't read them
all. Basically the guidelines involve
things like them saying -- there is a
liability waiver that says you know that
most of us here are not doctors, and even
for those of us who are, this is an on-line
service and it is not meant to substitute
for medical care, professional care.

There is a section that is just

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 14 of 29

111

H. Rearick

kind of. basic netiquette stuff that tells
them like it is not okay to harass other
users, that this isn't a dating service,
that we ask them to use language in terms of
talking about sex that iS accessible for
everyone to understand because we have an
international audience, so American slang
for certain sex language means a kid reading
from India might not understand what they
are saying. We ask them to keep their
language kind of PG-13 clean, mostly so that
the filters don't keep too many users out
basically because language does make a
difference with those.

We ask them to be tolerant and
nonjudgmental and not to dis other users.
We tell them if they want to complain about
us they really need to do it in an e-mail,
and they never do. They complain about it
as vocally and in person as they can.

QO On the message boards themselves?
A Yes.
But, you know, we give them

another e-mail. We have two different

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 15 of 29
112

H. Rearick
e-mails for if a parent is reading this and
they have an issue with us, to contact us
with that e-mail to ask questions or
whatever.

We have an e-mail for them to
send complaints to, and make clear to them
that if anyone is harassing them or they
think -- every now and then adults do
register on our boards and are pretty much
there to be predatory and get off on
teenagers talking about sex, so we tell them
to contact us if they think that is
happening.

We have a list of things that
they can't do or they will get kicked off.
Generally, calling us names or other people
names wili get them kicked off.
Proselytizing will get them kicked off.
Telling us their masturbation stories just
because it is fun or they want to get other
people uncomfortable might get them kicked
off.

That pretty much sums it up.

QO Why would the masturbation

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 16 of 29

113

H. Rearick
stories get them kicked off in that context
that you were referring to?
A It tends to equal sexual
harassment a lot of the times when they do it.

Usually it is not teenagers doing
it. That is actually where you see more of
the, over the years we've had quite a few
adults who seem to be very entertained.
Generally it is men being very entertained
by pretending to be 17-year-old lesbians and
telling us their fun lesbian sex stories,
you know.

And again, when we have really,
really explicit language on there that reads
like a Penthouse Forum letter, that makes a
‘difference in terms of how we are filtered.
That can limit, for instance, an AOL user's
ability to actually access our site. And
again, depending on the tone that it is in,
it can make people uncomfortable because it
can be sexually harassing.

Q Is there anything else that would
get somebody kicked off the site for postings?

A If they multiply post the same

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 17 of 29

114

~~ Sir H. Rearick
topic over and over and over again because
they didn't get an answer in 30 seconds and
they want one, that gets them kicked off. I
think we have being snarky on there, which
is a nice way of saying, of being something
else entirely. I think that is about it.

Q Do you monitor the content of the
message board?

A Yes, constantly.

Q When I say you, I guess I should
clarify that. Do you personally monitor or
do you have a staff that monitors?

A Both. I am pretty much committed
to being on call on those boards at a
minimum of 30 hours a week. The other
volunteers are there, so really I am both
monitoring the content of the boards per the
users and I am also overseeing my volunteer
staff.

Q Do you take off what you feel to
be inappropriate items on the message boards?

A Sometimes, yes. Often we try not
to delete so much as to edit.

For instance, one of the parts of

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 18 of 29

115

H. Rearick
the guidelines that I didn't mention is that
we tell them never to post their message or
name or their e-mail. Again they are
teenagers talking about sex. That is for
their protection. If they will post an
e-mail, we will just go and edit out the
e-mail from the post, leave an e-mail saying
we edited this out, this is against our
guidelines for your safety.

Q When something is edited out,
does it come across as a black box?

A Actually we are, our format is to
use a note. So it will say edited by
whoever edited and we will leave a note as
to what we edited and why.

Q Can people post photos on the
message boards?

A No. That may.change. We are
upgrading our software, and in the new
software they can. We would prefer they
wouldn't, so it's just going to be a matter
of if we can disable that part of it or not.
Tf we can't, then yes, unfortunately they

will be able to.

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 19 of 29

116

H. Rearick
Q I take it when, if and when the
capability for posting photos occurs, that
would be something that would be monitored

as well in the message boards by you or your

staff?

A Yes.

Q You had mentioned editing out
e-mail addresses. What other types of

things do you monitor for to remove from the
boards?

A Again, if the language is really
particularly coarse, we will edit it.

Every now and then, just to help
them be cohesive, when they tell the longest
story in the whole wide world in one long
paragraph, if we tell them to use paragraph
breaks and they don't understand it, we will
edit. it. They say oh, those are paragraph
breaks, aren't they neat, please do that
again. We'll do that.

Things that are protected; if
they post instant message conversations or

repost e-mails that other people sent them,

we will take them out just because that's a

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 20 of 29

117

H. Rearick
copyright and privacy issue. Again, too
with, they might find a full article they

liked from a newspaper and post the whole

‘article without permission, and again we

will edit that and just say truncate it toa
paragraph and then link to that because you
don't have permission to use that here.

Any other kind of personal
information, you know, clearly if they,

sometimes they will Sign a post with their

whole first and last name. We usually edit
that out.

Q Is that for the protection of the
poster?

A That is their safety, yes.

Trying to think of what else.
That is really pretty much it.
Q Do you have specific staff

members assigned to monitor specific

topics --
A The sections?
QO Right.
A The software works in such that

actually in order for a given staffer to be

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 21 of 29

143

H. Rearick
are, you know, you had your genitals pressed
together and you were not wearing any
undergarments and your body fluids were in
there or, you know, his penis was at your
vaginal opening, blah, blah, blah, blah,
blah.

The message boards, the users
will often post that again for various
reasons. Maybe they are posting that as
graphic because they want to and it is
exciting to them, maybe they are posting it
as graphic so we understand what a risk was,
or when I get somebody trying to figure out
if they have been raped or not, telling me
this is what happened, was this rape or was
this not rape.

Q Do you have any nude photos of
genitals on the Scarleteen website?

A We do not have photos. We have
some illustrations.

QO Are the illustrations for
educational purposes?

A I would say so.

Q Are the depictions of sexual acts

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 22 of 29

144

H. Rearick
that are contained on the Scarleteen website
for educational purposes as well?
A We consider them to be so.
(Brief break.)
BY MS. ULRICH:
QO Moving on to Scarlet Letters.
A Did you need to mark this?
Q Why don't you go ahead and mark
this as Exhibit 6?
(Thereupon, the document was
marked Defendant's Exhibit 6 for

Identification, as of this date.)

Q Do you recognize Exhibit 6?
A I do.

Q Is it from the Scarlet Letters
website?

A It is a splash page for Scarlet
Letters.

Q What is a splash page?

A A splash page is not very well
used any more convention in which you put a
front page, especially before a site which
you think is in any way provocative or the

user simply might want to know what they are

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 23 of 29

171

H. Rearick
really just not used very much. When they
are used, yes, they are monitored.

Q Are they monitored by you

personally?

A They are, but again it's such a
different ballgame than Scarleteen that I
monitor them pretty much only to make sure
that somebody is not just spamming with
solicitations for their latest product. And
otherwise I don't really care what is up
there very much.

QO I know we talked about the
different topics on the Scarleteen message
boards. Are there topics on the Scarlet
Letters message board or not?

A There are, and I haven't looked
at the message boards in so long that I
couldn't begin to tell you what they are.

Q Have you ever taken a posting on.
the Scarlet Letters message board down?

A Like I said, definitely we
usually remove if somebody is just
soliciting; you know, they are soliciting

for a foreign site or for their latest crazy

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 24 of 29

213

H. Rearick
And it is hard, it is not just as
easy as answering the question and everybody
Saying oh, thank you, I didn't get pregnant,
I didn't get chlamydia because of you. It
is me pulling my hair out and crying after a
long day. So yeah.

Q Do you think the photography
section of Femmerotic has value for people
under 17?

MR. WIZNER: Same objection.

You can answer.

A Again for some absolutely it
could.

QO Continuing the discussion about
the Femmerotic website, what is contained in
the prose and poetry section of Femmerotic?

A Prose and poetry. What is
contained in there? That's what is in
there. There is, prose is mostly fiction or
creative nonfiction. The poetry is poetry.
Some of it is sexual, some of it is not.

Q How do you decide what pieces go
into the prose and poetry section?

A Pretty much everything I have

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 25 of 29

219

H. Rearick
I am pressed to use that term or unless it's
in the context of talking about what it is
and what it is because. somebody else is
going to wonder).

Q Do you think there is a
distinction between your work and the
mainstream commercial pornography that is
out there on the web?

A Can I have an example of the
mainstream commercial pornography?

Q Go with Hustler dot-com.

A Is it different than Hustler?
Yes, it is very, very different than Hustler.

QO Do you consider your work to be
artistic?

A Most of my work, yes.

Q What do you consider of your work
that is not artistic?

MR. WIZNER: Objection, asked
and answered, but you can answer it
again.

A Again, some of the stuff that I
have done before in which I was a model and

had no creative direction whatsoever, most

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 26 of 29

230

H. Rearick
don't want to have any part of this and
think you should stop because you are
perpetuating blah, blah, blah.

So often too even in talking
about reproductive rights issues, in talking
about radical feminist issues, people are
sometimes less than a little nice in their
expressing how they feel about things that I
have said.

Q I take it on the I guess the
political side of things, those comments
would not be lewd comments?

A No, they are not lewd, they are
just sometimes very verbally abusive. And
not necessarily with me, sometimes a
discussion will be going on in the comments
and so somebody might not be horrible to me
but they might to another commenter, and I
will usually take that out or tell them to
saw it off, whichever.

Q Is it fair to say that you
express a strong political viewpoint in your
journal?

A Yes, it is.

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 27 of 29

244

H. Rearick
thousands of pages of content at this point.
So thank God, because we would be here for
months.

Q Is it fair to say that what we
have discussed in the exhibits today is a
representative sample of items that you fear
prosecution on?

MR. WIZNER: Objection. We
have already objected to the use of
the term repetitive sample in our.
discovery responses, but you can
answer.

A Yes and no. I mean there is a
couple of things that are left out that I
would definitely Say we have no, we have
nothing printed out from the message boards,
for instance, which would be one of the
trickiest things because I have one of the
busiest message boards, not just for sex
eds, for any site on the web.

And so there is constantly
created content about sex by minors at which
minors are looking, where if I am not

plugged in 24 hours a day, you know, there

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-6 Filed 09/07/06 Page 28 of 29

245

H. Rearick
can be a huge problem for a long time, a
problem per clashing with COPPA standards
that I wouldn't even see.

Q Just to clarify, we are talking
about the message board on Scarleteen?

A Scarleteen, sorry. My concerns
are more with that in terms of Scarleteen
because I don't intend Scarlet Letters to be.
viewed by minors. I know it is sometimes, I
know it might be, but that is not my intent
in making it.

So, not having the dynamically
created content by the teenagers for the
teenagers at Scarleteen, that section of the
site might actually in my mind be what puts
us more at risk than anything else,
especially since I don't write it. I have
no control over it. They are not thinking
about walking on eggshells like I am because
they are 16. They don't think they are
accountable for anything.

Obviously even with my personal
site with Femmerotic, we are only looking at.

images that are in the public sector. Now,

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR* Document 292-6 Filed 09/07/06 Page 29 of 29

246

H. Rearick
I use a payment processor right now that is
also not in ABS, so might minors be using a
credit card to look at photographs which are
much more explicit than these in the private
sector of the site, absolutely.

Q To subscribe to the subscription
portion of the Femmerotic website, that is
done through a credit card, is that correct?

A It is. It is done through
Verotel using a credit card, but I don't
imagine that Verotel as an international
company would switch to entertaining COPPA
standards because they wouldn't, I don't
know that they would be obliged to.

QO For the message boards on
Scarleteen, you aren't aware of what is
posted on the message boards until it is
available to the public, are you?

A Yes, that is correct.

Q So other than the message boards
and the subscription portion of the
Femmerotic website, are there other things
that we have not discussed today that you

fear prosecution on under COPPA?

ARISTA COURT REPORTING CO. (212) 684-6100
